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                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF KANSAS
                                   (Topeka Docket)

UNITED STATES OF AMERICA,

                       Plaintiff,

      v.                                            Case No. 18-40054-01,02-HLT

WEILING NIELSEN
and
ERIK NIELSEN,

                       Defendants.


                                    BILL OF PARTICULARS

       The United States of America, by and through the undersigned and pursuant to

Federal Rule of Criminal Procedure 32.2, in addition to the property generally alleged in

the Indictment, particularly alleges, that the following property is subject to forfeiture on

the basis of the forfeiture allegations set forth in the Indictment filed in the above-styled

criminal case:

       A.     Approximately $1,390.00 in United States currency seized from XXXX
              West 25th Street, Suite M, Lawrence, Kansas on 06/05/2018;
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                                                 Respectfully submitted,

                                                 STEPHEN R. McAllister
                                                 United States Attorney

                                                 _/s/ Christine E. Kenny__
                                                 CHRISTINE E. KENNEY #13542
                                                 Assistant United States Attorney
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                                                 christine.kenny@usdoj.gov


                            CERTIFICATE OF SERVICE

       I certify that on November 16, 2018, the foregoing was electronically filed the

Bill of Particulars with the Clerk of the Court by using the CM/ECF system which

will send a notice of electronic filing to counsel of record.

                                                 _/s/ Christine E. Kenny__
                                                 CHRISTINE E. KENNEY #13542
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